09-md-02047-EEF-MBN Document 15695-5 Filed 08/13/12 Page 1 of 12

Case 2

Auedwo7 asueinsuy aly engin Ayaqi] Jsusede
Suue|9 [Je aAdasad AUedwo> saueunsuy Aqyiqely
9g AJueveNnd uedueWwy pue Auedwo? aduesnsu|

yan? uedauy pue ‘Auedwo adueinsuj
Ayypigert 3 Ajuerend uediauiy pue Auedwos
JIUBINSU] YNZ UEDValWYy 1suUlese Stule;o [ye
saajasay AUedWwo 3 adue Ns] duly [enn Ayaqry

"oul

‘aSeD PIO pue dod uolsiAlg
Ajddns syuejly usaynes e/q/p
dio5 sjonpoid Sulpying pal||y

Aueduio> aaueinsuy ajeps}035
ysulese swiejo jje savuasaa Auedwo) adueinsu| [994

Aueduwio> aoueinsu! ajepsij}0as
ISUIEBR suulejd |e Savsasal ‘ouy ‘sayddns yjemAig epuold |v

‘ou ‘sayddns jjemAig epLold flv

Aueduio) aaueinsu| Asysnpu| pue

adWaWWO’ pue AuedWwoy sdueINssy SALUGH URIS

‘s pAoy] ‘Auedwo 9 aoueunsul Aajmey “HAI Jsulese

SWUIPID [JE BAJASAI “Ou ‘Ayeay SOWOH Swepy puke ‘971
‘SOWWO} SUepy -SU| “EPliO|J ISaMUYLION JO SaWO} SWepY

‘ou ‘Ayjeay SaWOH SLUepY
‘71 ‘SawoH swepy fou] ‘epuol
JSaMUTON JO SaWOH Swuepy

Auedwoy aoueinssy JUaUIU03-pIIAy pue ‘Aueduo9
Ajauns euoyeng ‘Auedwo3 Ayense> JuaUIJUOD
~PIJAy Jsulege suulejp je S@ajasaz UO!esOdJ0D “D°g'y'y

uonejodio) OG UY

Jainsuy sayjouy jsulede

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Case 2:09-md-02047-EEF-MBN Document 15695-5 Filed 08/13/12 Page 2 of 12

Auedwioy sdueunsu| 21I9ed
UJaIsaAA [sulede Sued [je SOAIISAI DT] SOWOH BelD

3711 sawoy eel

Auedwo aoueinsu| uedawy
YILNZ ISUIESE SWUIE}D [JB SAAJaSaI ‘Du ‘Sjeae|A] jeywdeD

"Duy ‘Sjelayey joydep

Auedluo? asueinsu] aiidig uedawy
pue Auedwio} asueinsyy jepueul4 ysulj jsurede
SUIe|9 ||2 SaAJaSad AUedWo7) aoueINSUy UI;LeED

“OUI
‘Auedwo uononiysuez Jewye7)

paywiy Auedwo; asuesnsu|

1X pue ‘45 j2uoTeUJa3U] BY SSIMS “9S AUedLUOD JdUBINSUT
ssaulsng jeuOIeusazU| YS py] Auedwo> adueunsu|
ssaulsng jeuoljeusaqu| ys ‘Auedwoy aoueinsuy Ayigery 9
JIIVEIeND UeaJawy “py aoueinsuy Ayelads aoueinpuy
‘Auedwo7} adueinsuy Ayeisads UedualUY sIUeINpUY

“py Auedwwoz a2ueunsuy adoing 7X ‘Auedwo7 aaueinsu|
YdUNZ ‘edaWy Way ON Yyounz ‘Auedwwoy adueunsy|
Jsejpeays isujede Sweld je saAsasal ‘dioD SawoH 4azeaq

‘dioy SawoH Jazeeg

Auedwoy asuesnsu|
SSUIUIA [SUIEZE SUIE]D |[e SBAJOSaU “OU] “SOWOH UOYINgny

"Ju ‘SBLUOH UOYINgGny

Ayjense) eAoN ysulese
SUIE]2 [JB SaAJasad AuedwoD aouesNsuU] EPRULID

dio} JOE] OOLY

AuedLluo? aduesnsut

311 PHULID Jsulede Suef [ye BAIISII BWUIOH gy
BdUTISSe IBY] pue ‘AUedWO} adueINsU] adUe INSU]
SIGUMO AUBCWOD adUeINSU| SIBUMO-O1NY

Auedwo7)
DIVEINSU] 9}EIS SUUCIO ysulese suelo |je aAJaSas BWOH
gy aaudisse sy pue “su| ‘Sjeajze|A Suipying uesawuYy

‘Jul
‘sjelayelAj BUIpying Uesatuy

Aued uo?) a9ueinsu| aunsLawy pue
AUBCWIOD AUBINSU| IFEULIOUID ysulede SLULe]> |e
saAsasai AuedWwOD adUeINSU] Epo] Wey 31e1S

Auedwo? aaueinsu] aunsiawy pue Auedwo adueinsu|
ILEUUIDUID YSUIESe SLUIe> |}E SBAJASAI “dU| ‘SAWOH ZaJeA|Y

“OU ‘SAWOH ZaseA|y¥

Case 2:09-md-02047-EEF-MBN Document 15695-5 Filed 08/13/12 Page 3 of 12

"ed “Ysungsiid Jo Auedwos aoueinsu] 414 Uolup
JEUONEN JsuIese suey je SaAJasad “Du “|WeMAIGg ISaUl4

“Ou “ypemAiq JSauly

uoHenossy AquBIeNd asdueunsuy epiol4
pue Auedwos adueinsu| JEUCITEN YsUlese sLUe|D
je saasasas Auedwoy soueinsuy asl puojuey

“au] ‘Auedwo
"g OUIDIA “4 pue “Duy I] |FEMAI
OUIDIA '4 “OUy IJEMAIG OUINIA “4

Auedwo> Ayense)

jequauijue? pue Auedwo> Ayense) puejAseyy
ysulese swe jje saAjasay Auedwo7 aaueinsu|
euulsury ‘Auedwo7 Ayense3 jequaunuo?

pue Auedwo> adueunsuy WeuUldUlD Jsulede
SWUIE]9 [Je SaAsasas Auediuoy Ayenses puelAselAj

Auedwio) Ayensep jeyuaulju0D pue Auedwo) sdueunsu;
IPUUIIUID Jsulese SLUIe]D [Je BAJBSII “OU ‘SODIAIAS
YiJeaH UOASQ pue *duU| ‘Jeuo!eUsezU] UOAaG “Su|
‘dnoip jeuoljeusajuy uoAeg “ou| ‘Sulpesy jeucijeusazUy
uoAag e/y/} du] ‘SaluIsNpu] [eUOHeUJa}U] UOAIQ

‘DUI ‘SBDAIIS UYEaH

UAV pue ‘dU] ‘JeuoIeUIS}U]
uoAag “du ‘dnosg jeuoeusaqu|
UoAag “ouy Bulpesy
jeuoljeUsazu] UOA|G e//} “Uy
‘saluisnpul] |euoleusaju] UOASG

‘Y1d adoun] ewayy pue

UOpUo] JO spAoy] 32 SUB WUMapUL ‘Ayelsads auoysuody
‘1095 ‘ PLLOM pally ‘adoing 7X “Iseypeays “Ydsy “TSIV
‘QqueuNsU| UOSURAQ “YP BDUeINSU] UAadsy ‘JeuUd!eUsaU]
YS ‘UOIUIXS] ‘JY SSIMS ‘BDUEINSSY PION, Pall lV

‘1X “AGNHD ‘sey ‘Oly ‘Jo Jsulede sued |je aAsasal
yseOD 4INO—‘duj ‘UOLOH “y"q pue *duU| ‘UOLOH “YG

yse07 JN — ‘uy ‘UOMO
“Y’d pue ‘du| ‘UOVIOH ‘yd

Auedwo’ aoueunsu]
SOXEN pue Auedwoy AyiUuWapuU eJUeND Jsulese
suule] [Je SaAJasaz AUedwo) adueunsu| Ue)

7] ‘UoNaNsysu0} WeYysea4909

AOA MAN
jo Auedwoy aoueinsuy Way oN pue Auedwos Ayjensed

puejAselA] Jsulese swulelo |je SeAJaSay ‘du ‘adeajes AUD

‘uy ‘adeayes AUD

Auedwo aauesnsu| yseypeais

pue Aueduwiod adueunsu] Uo ulxe] ‘AuedwuoD adueinsu|
saury Ayelsads jeuo|}eusaj}U| uedawy e/y/} Auedwioz
adueinsuy Ayeiads siey> jsurese susiej9 je aAJasou
UaljeIOdJO7 A] slAeq JO SAWOH 7°9 “pd ‘AI Saqelossy
SIAR JO SOWOH 7'°9 “pi ‘Ti] Seqeisossy alaed Jo sowWO}Y
‘1D “pH ‘I sazeloossy aiaeg jo sawoy “7°59 ‘uolesodio)
A] Jewell ‘d771 ‘Al sayelsossy sewed ‘uolesodiop
LAX yoeag UoUAOg ‘J1T1 ‘JAX Seqe!20ssy yeag

uojAog “pr] “xX Sayeisossy yaeag uoUAOg Jo SaWwiOYH
"1' ‘uoleiodue? paywr] SewoH “79 ‘uoMeiodioy
BPlOl4 JO SAWOH']D “UoleiodioD sulpying 1°9

UOIEIOCIOD Aj SIAeG JO SAW} “75
“py ‘AL saiesossy alaeg JO Sao}
"TS “py ‘I Saqepossy aiaeq

JO SBLUCH “FD “py] ‘4 sayeloossy
alAeq JO SAWOY “79 ‘UOHeIOdi0}
Al 42WedIW “d 171 ‘AL Saqeloossy
JBWEIIAY ‘UOTTeIOdIOD |AX yaeag
uoluAog ‘TTT ‘IAX seqepossy
yseag UOIAOg ‘py) “X] SATeossy
yoseag UOJUAGg jo SBWOH “7°9
‘ug}}eIOdIOD pay] sswoH “19
‘UoI]e1OdI07 BPLUO}l JO SBLUOH'TD
‘uoljeIGdo? Sulpying "19

saiueduo7)

adUeJNsU| puny s,UBWa!4 pue Auedluo? adueinsu|
al4 uotuf) jeuoHeN ‘AUedwio> adueinsu] astysdwepH
MAN ‘AUedwo? aduesNsSU] B}eYS BWuUeID “Su| ‘SWe]D
syeyy “oul ‘sey ‘Auedwiog Ayense> je}UaU!]U07)
‘AUCGUWIO?) BIUEINSU] URI YIN? Jsulege

SUE] |]2 BAIASAI “OU ‘X]NOId “9 pue JT] ‘X{NO1d "9

“Du ‘XINOFg "S pue DTI ‘xjNOAd “9

Case 2:09-md-02047-EEF-MBN Document 15695-5 Filed 08/13/12 Page 4 of 12

id]

Auediuoy aduesnsuy Sauly snjduns Jaysausjsa~y pue
Auedwo AyUWapuU] J3}S104 7 WIND ‘AUedWwo?D aoueznsu|
auld “S'n ‘Auedwoy aoueinsu| JaArY YON ayy ‘Auedwoz
aoueunsu| saul] Ayelsads jeuolzeusayuU] UeaWYy

e/4/} ‘Aueduo aouesnsuy Ayjeisads sey ‘Auedwos
adueunsu Aldede) uedewy yoy ‘dnoig Ayensey
O1UO ay] ‘Auedwoy adueinsuy UEaWY Jed15 Jsulede
SIE} [JE SAAIASAI 7] ‘EPLol4 Jo sJapling WOH 4sJ14

mn
‘eplio|4 JO suapjing BWOH 3s4l4

Case 2:09-md-02047-EEF-MBN Document 15695-5 Filed 08/13/12 Page 5 of 12

Auedwoy

JUBINSU] JAY YON pue AueduioD adueInsu|
Ayeloads saysaiog pue wing ‘Auedwos ail ‘sn
ysurege Sule] je saAiased AUPCLUOD SIUeINSU] FUILUAS)

Auedwoy soueunsuy JaAly YON pue Auedwo>}
aaueunsuy Ayelsads 4ayss04 pue windy ‘Auedwo)
add “SN Jsulese swield |je saAsasas “77 ‘Aqsouy "] uyor

371 ‘AqsouD “7 UYyor

G11 (epnueg) sueinsul 7x sulese
SWIEID [|e S8AIASAI JT] ‘eploly seliadosg auaysAoY

ITI ‘epuoj4 satadoisg BuOWsAoH

GL (epnwiag) aoueinsu|
1X JsuleSe suey jje saasasay ‘ou ‘Sasiudsaqyuq uel UeUAOH

"uy ‘Sasuduayug UeIUeuAOY

C11 (epnuag) adueinsy] 7X Jsulede SUIe|D
\|2 SAAsaSa “OU ‘EplJo}4 Jo sjuaLUdO}aAaQ UEIUBUAOH

"2U) “EPHOl4
jo squaludojaaag UelUueUAOH

Aueduwio> asuesnsut o3saA,
ysujese Suelo |je aAJesad AURdLUOD SIUEINSU] BIAS
palesapay pue Avedwo3 edueinsu] (enn pelesope

‘ou; ‘Ayddns 3g saquuin] UMO | aluoH

Auedwo> AWuWwapu ejuenD ysulese
SLUIBIO |e SaAsasay Auediwo7 AyenseD JuaUIUCD-pIYy

“Sut ‘SAWOH JaACUE}

Auedwo) asueunsuy Ayensep playaspug isuese siuies
jje sevtasas Auecdwwo7 aauesnsuy JEN nA] splmuoleN

“OU ‘SJUBLUISAAU]
3B SPUL] FEUOITEUJIIU| YIEWIJEH

Auedwwo’) a3ueinsu|

Aqjepi4 jesauag pue Auedwioz saueinsuy saury Ayelsads
equeng ‘Auedwio? adueinsu Ayeiads uedawy YON
1994 ysulede Sued je sansasas ‘dul ‘ssapying Aeg sAess

“du ‘ssapying Aeg sAeiD

uopuo7 Jo spAoy] ‘Auedwo) a2uesNsU|

UOTUIXa7 ‘AUPCGLWWO?D SdUBINSU] UEISUy Y4eW PUT
‘Aueduo> Ajiuwapu| [sy ‘Auedwo> osueinsu|
Ja4sJoj pue wn3 ‘Auedwo  asueunsu] saury snjduns
auidwy uedewy ‘Auedwio> aaueinsyy jesilupy jsurese
SUUJ2/9 [JP SAAJISAI D771 UaWdojaAag Yseag O18A HD

JT1 ‘uawdojaaaq yseag 480, HO

Aued uo?) sdUeINsU] UeOWy

yaiinz Jsulese suwulejd |/e SAAJaSaJ “IU] ‘LUNsdAD Joye

‘au; ‘uunsdAy sojey

Case 2:09-md-02047-EEF-MBN Document 15695-5 Filed 08/13/12 Page 6 of 12

17 (epnwiag) asueinsu| 1% Jsulede
SW/2(D ||P SAAJASAJ D7] ‘S@WIOH PJEMPUIAA URIURLACH ‘>

371
‘SOLUOH PJBMPUI URIUBUAQH

O17 (epnuJag} adueunsuy 7x Jsulesde
SUWIEID [|e SOAIBSII “DU| ‘I]]X YOeag Wwyed JO URIUBUAOH ">

“Duy
“NX Yoeag Weg JO UBIUBUAGH *>

GLI (epnwag) aoueinsuy] 1X sulese
SWUIe}D [Je S8AIASA4 SALOH UO WYSLIg 2/G/p qq] {| UOSNOH
fO UBJUEUAOY "y 2/4/} DTT ‘T] UOISNO} JO UEIUBUADH *>|

sawoH uoqysiig 2/G/p
d] ‘]| UOPSNOY JO UBIUBUAGH "| &/4/}
71 I] UO TSNOH JO URIUBUAOCH

G17 (epnwiag) saueinsu 7X Jsulese
SWIE]D |[2 SAAJBSAJ SQWOH SpisyJed &/q/p d7] ‘UOIsSNOH Jo
UBIUBUAOH *y 2/41/J IT] ‘YOISNOH Jo SoWO} UEIUBUAOH “>

SAWO} apisyxjed &/G/P d1
‘UOISNOY JO UEIUEUAOH "y e//J OT
‘UOISNOY JO SSWOH URIUEUAOH *y

GL (epnwuag) aauesnsu) 1K
JSUJEZE SUE] |[e SAAJBSAJ D7] ‘S@WOH 4S4j4 UBIUBUAOH “yf

JT] ‘S@WOH 1S114 URIUBUAOH

O11 (epniwiag) soueunsu 7X Jsulese sueso
JJ2 SBAJISOI ‘DUY ‘SeXd] JO S}UBWIdO|aAIg URIUBUAOH “>

“ouy] ‘Sexa]
jo sjuawidojaAaq UBIUEUACH *

G17 (epnuuag) soueinsu] 7X Jsulede suelo |e
SaAJasSel ‘au ‘AaSIal MAN JO SJUaLUdO|aA|g URIUEUAGH “y

“Qu ‘AasJas MAN
JO syuswdojanag URIUBLAGH “y

Auedwoy
aIUeINSU] PUNY sues ‘AUeduOD adueINsU Jenin
aunslaluy ‘Auedwo7 aduUeinsy| ainsauy 1sulede

SWUIE]D [|2 SAAJBSAJ “OU ‘SAIAJBS UOIJONIISUOD YAS

“SU ‘SOIIAIIS UOIPNISUOD YAN

f

Case 2:09-md-02047-EEF-MBN Document 15695-5 Filed 08/13/12 Page 7 of 12

Auedwiod aaueunsu] Jaqayy ysulede sue|9
Je SaAdasau AUediuaD asueunsuy Ayenses ONO aul

WemAid TW pue reméug M798Y4yI9N7

dnesg soueunsu|

sJapling pue Auedwo asueunsu] SsululA “UOeiod105
SoUeINsU} AJUBIEAA SIBANQAWOY ysulese Suejo

_ [ye SaAsasad Auedwo> sdueinsuy] [enin|A| spimuonen

Qu] UOIpNssUu0p
OVP UO WadUA pue “Iu “ISUdD
OWYEWOIA) JUIIUIA ‘SUapying UENO]

‘6027T azealpuds “ydnz

‘Bd]ULIEND UBIUAWyY ‘URIOUWY jaxJIEA] “ISejpesis
‘QJ0Ysuo,| ‘uadsy “py] ay xed] ‘ay ssIMs ‘dnosD

SU] a1eysua1U| “py edoung 7X ‘sdueuNssyY PLOAA Pally
‘QueINpU ‘qqny? ‘ssaoxq wWe}s ‘euoziiy jo Auedwo7
Aquapuy Ayunoas jesouay ‘Uedauy Young ‘Ayense>
9 BJL4 BYeISIIW] ‘Ory ‘Wyqnday pio ysujede sues

||P S8AJBSAJ UOHEIOdIO) BWOH “Sf pue “3U] ‘SOWOH
Jeuua] e//} 371 ‘SewoyH seus] ‘uoesOdJoD Jeuua)

UoleJOdJO} BWOH “S'f]
pue “ouy ‘sawioy Jeuua] e/4/} 37]
‘SBWUGH JeUUay ‘UOMeIOdIOD JeUUaT

Auedwo3 adueinsuy uo}sueAJ pue
Auedwo7 a2uesnsuj ajeps}qoos jsuiede suey ye aAsases
JT1 ‘saledosg sajyng pue 77] “J4 JO saoas pueq

O11 ‘saadold
4ajyng pue 977 ‘Td JO SedlAlas puey

Auedwoy aaueinsu| uadsy ‘Auedwo asueinsu|

dy JOS ‘Auedwo} adueuNsu| ay xe|Aj ‘AueduO7
aduensuy adueINpUuy ‘Auedwo? aoueINsu; aIjqnday

pio ‘Auedwos adueinsy| aAljeusayy Ueda ‘Auedwo?
aoueInsu adoung Tx ‘Auedwio> asuesnsu 1x ‘Aueduwio?
SIUBINSU| [218A ‘SJaPUMIapUA JEW) May ‘AuedwoD
aoueINsUy UOIUIXe] ‘AUedWOD sdUeINSU] YIUNZ
‘AURCWUOD AIUBINSU| SSBOX_ JeyS ‘AUECWOD IoUeINSU}
jeuoiyeusazUy Ys ‘Auedwo) adueINsuy INYLSWI A,

ysulede SLU1e]9 [Je BAJBSAJ D717 BUeISINO] AAYHS/JINOH

a> pue 377 SYaAW YO4 FINOH 9 ‘DTI OpueELO

JWOH 9 ‘DTI aillAuosyseF FINOH @y “977 3se09D oinseasy
JINOH 8 O11 BPOl4 SWOH @y ‘OTT edwel 3IWOH I

TI evelsino] MWHS/JINOH

ay pue J71 SuaAW YOY WOH
a ‘O11 Opue|io JWOH @y ‘OTN
aj|AUOSYIEL FIWIOH Oy O11 3Se0D
aINSead | JAIOH 9X ‘OTT ePMOl4
JWOH @ ‘DTI edwes 3IWOH 9

Case 2:09-md-02047-EEF-MBN Document 15695-5 Filed 08/13/12 Page 8 of 12

Auedwoy Ayuueapuy ejuend isulese
SWIPID []2 SaAsasas AUedWOD AyenseD JUdUIIUOD-pIlA

‘Quy ‘UOI}SNISUOD AajUe}s
J@EYSIIA! pue “Duy ‘“AMAN JO DSW

Auedwoy adueznsuy Wayynos UPoWaLuY puke
Auedwio> aaueunsuy Ayensey aoulias ysulede suuelo
||P SaAsasel uoIelossy AjueIeNg sdueINsu| Bpuo|4

jjemAiq Aaso|A) [BEYIIIAY
e/q/p ‘uy {emAuq 2723S-PIl

Auedwo Ayuwapu| eyuend ysulese
SuUIPIO []2 SaAlasas AUeduo> Ayensed JUaUNUO-pIlA

“Duy ‘UO1}INASUO} GOW

Auedwuoy adueinsu} ssaoxg Jes pue Auedwo
souUeUNSU] UCYUIXa] ‘AUBdWO} adUeINSU| a414 Ploy
‘AuedWwio?) adueinsu| saury Ayenads jeuoieusaju|
UBILAWIY JSUIeSe SWIE]D [|e SAAIJBSAI D7] ‘SEXO

JO SQWOH aFeyA9|\] pue “du ‘epLo|y Jo SaWOY ase Wa

JT] ‘sexe JO SAWOY Ase WAI)
pue ‘dU ‘EPJO]4 JO SOWUICH BBeP JAI]

dnoig
aoueinsu] Suapjing pue Auedwo7) aaueunsy| SJepying
ysulede Se] [Je SAAJaSeI OU] “YS SOLUOH UBIPLal\

"OU “WSf] SAWOH URIPLIAlA

Auedwoy adueinsuy AuojoD
ysulese Sued je SaAiased Auediuo> adueinsuy lias

Auediwwo> asuesnsu] Auojo)
ysusese SLUIe]D [Je SAAJaSAI D7) ‘SUepling ||aMOQqIAW

O71 ‘S4epying |jaMoqoyy

Auedwoy

AUBINSU| |PUOITEN JSaj0Aq pue “duf ‘elueA|ASUUad
SAdIAJaS BUEINSU] OBseY syaAy ‘Auedwo> a2ueinsu]
BAIEUJalYy UeIaWy “Su| ‘seaypyoRN elpsoooy ‘uolun
jeuonen ‘Auedwo> asueinsu] Ayeiads sijieyp isuiede
SLUIE]D {JB SBAIBSI] EPLOI JO “Du ‘SBWOH EpUuolelA}

Epo} Jo au] ‘SawWOH BpUuoIeYy

"py] ‘aoueunsu Aqyeisads

aoueiunpug ‘Auedwoy adueinsu| jseypeays ‘edJawy
YON YyaUNz ‘Auedwo? ssueunsu UBIJaWUy YINZ
‘AuedlWwo? SouUeINSu] JeJapasy pue ‘ssadxq JelIDaWLWOD
qany) ‘saiuedwoy adueunsu] Jo dnosg qqny)
‘Auedwo? aaueunsuy ayqnday pio ‘Auedwoy adueinssy
POM pal jsulese sued je SaAJasa4 SBWOH I/IN

(seveliye pue saueipisqns
je Fulpnjaul) sawoy 1/1)

Auedwoy asueinsu Jopny

‘pY] ‘SUOMEIOISAY SUIqIeD “AJ

{SUIEZE SLUIE]D Je SSAJASAI ‘pF ‘SUOITEJOJSAY DUIGUED “WW

Auedwoy
adueunsu Ayeads 4ajss04 pue wind Jsulese swieya
J/2 S8ALASA “DUI |] BSeUd BADD SAdy Je SBWOH EWOYS

“Our ‘I
aseyd dA09 sAdy 32 SBWOH BWOYs

eduawy
UWON YNZ pue eduawy Jo AUedwoD adueunssy 11 ‘Auedwio3 sias0y
JsuIeSe suey jje SaAsasad DT] ‘Auedwoy suadoy

Auedwio> Avuwapu] eyuend sulege
SUIIPID [[e SaAsaSau AUedWwO3 AyenseD WuauIU07-pl|A

IU] ‘SBLUOL JIBIFSIBALY

Auedwo} adueunsu] snjiynen Jsuiese suey ||e saAjasal

‘duo> Juawidojsaaq
‘dio9 Jualdojaaag Aunuwo) s]Uusiay PUCWYIY

AyUnWWoD s}Yy3ieayH PuoWYaYy

Auediwoy adueunsy|
jenn aansawiy pue Auedwos aoueinsy| ainsawy “uy GuatUdojaaaq 194
jsulede Suupels je SaAJaSad “Duy ‘JUaLUdO|aAeq TOY

Auedwo) aoueinsu| uoywulxe7] pue Auedwo)
aduUeINSU JURIZay|y¥ ‘AUedwod adueunsy| saury Ayelsads

: d7 ‘sexas JO HV
UBIALUY JSUIESE SWI1e]9 ||2 SOAJaSA 4] ‘SeXAL JO HVY

BIUBA|ASUUad JO 93e}S5 JU} Jo AUedWOD aduUeuNsU|
aul pue Auedwos) adueunsu] saul] snjdang saysayrisay

Ou] ‘uaLUdoFsAaq eyyNd
ysuleSe SWIe]D |e SAaAJasal “Du “UaLUdOjaAaq Bxpnd MI
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Auedwo) a2ueunsuy snjiiney jsulede “Du
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Case 2:09-md-02047-EEF-MBN Document 15695-5 Filed 08/13/12 Page 9 of 12

Auedwio) asueinsu| Ayensea pue Ayadold
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Je SaAsJasas “OU] ‘APURLUNY JO) Je1qe}H Baly SUBBLIO MAN 40} JEUQE} Bay SUBBLO MaN

Case 2:09-md-02047-EEF-MBN Document 15695-5 Filed 08/13/12 Page 10 of 12

Auedwoy adueinsu| Awpgen

99 Aqueseng ued Jaw pue ‘Auedwo> adueunsuj UOlUr)
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ysty Auedwio aoueunsu| $1019e]U07 LED 3aWYy

“eg ‘UBINgS Id JO AUEdWO’) adueINSU] 34lj UOIUl)
jPuoeN jsulege suey |je saAsasas AUeCWIOZ [JaxS2H BYL

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Auedwo) saueunsu|
JEN{NA) S,UeWJaquuNy elueAjASUUad Jsulese
slule|d [je SaAsasas AUedWO? aIUeINSUY FEUUIUID

Aueduuioy
SIUBINSU] FENN] $,UeWWaquuN] elueAjASUUa, |sulede
SLUIE[D |/e SAAJOSAI “OU ‘S]BLAaTe|A) SuUIPjIng yseoouNs

“Duy ‘SpeaTelA) Burpying yseoouns

‘JU ‘dnoig asueuNsu] aAIpajas pue AUedWwoD sdueINsy|
jelapay ‘ssaoxq [eluaLUWO? qgnyD ‘saluedwo)
aouRInsy| Jo dno qqny> Jsulese swie|d |/e sAsJasas
O71 ‘sam Ajddng Buipjing 49035 pue 377 ‘sBulpjoH Ajddns
Buipying 3035 “Duy ‘Ajddns Sulpying y20Is ‘71 ‘epHots
jo Ajddng 3uipying 42035 ‘971 ‘Ajddnsg Surpying 49015

Th ‘sam Ajddng suipying 49015
pue 371 ‘sdulpjoH Ajddng suipying
9035 “su; ‘Adding Sulpying D015
‘O71 ‘epuoj4 jo Aiddns suipying
yoors ‘971 ‘Alddns 3uipying 49015

AUedlW07 SoUBINSU| Ja]ssyssayy ay

“p17 ‘Auedwo asueinssy poj, pally ‘Auedwioc> asueinsul
ay xelA ‘Auedwo> adueinsuy ay ssims ‘Auedwuo> aduednst|

BY 1095 ‘60ZT aze21pUAS spAol] “EQNZ a}e21puAs s,pAO}]
‘AuedWOD a2uUeuNsUt UOYUIXS] ‘Fy ssimMsS ‘Auediwo> Ayjensey g
adly aqeysuaqu] ‘AURMWIOD SQUBINSU] SUaTUAMapUl JeLUMaN
Cpr, adoing Tx “py soueunsuy Ayeisads saueunpug
‘elueaAjASUUd, JO 3321S 84} JO AUedWoD aoueinsut ‘AuedwoD
Ayense) 9 uly ayeyssaqu] “O07 “Suy \seypeays JSulese suuie|d
JJE BAJSS9s OU] “EPLO|J ISAMUINOS JO SOLUOH IIpI9Ed
puepuels “du ‘eplol4 JO SAWOH pPjaipsayA ‘SawoH
DYOOIGYSAAA “DU ‘UOIIINAISUOD GMH “3U| ‘Opesojo5 jo
oyloeg paepueis “au] ‘dd edwe] jo aioe puepuejs Su]
‘d5 PLOY YANOS 4O SaWOH Jyploed Puepueys “Ul ‘dD

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“ul
‘EPUO|Y ISAMYINOS JO SAWIOY IjIIed
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PIaLASAAA ‘SOWIOH BxXOOIG sayy “SU|
‘uol}oNsysUuoD G@AAH “Su ‘OpesojaD
jo 219eg puepuers “uy ‘gd edwel
jo 2yI9eg paepueys “uU] “dd epuol4
UINOS JO SBWOH Jpeg PHEPUELIS
“Jul ‘dD BPlopy Yyinos Jo 3y1Ded
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Case 2:09-md-02047-EEF-MBN Document 15695-5 Filed 08/13/12 Page 11 of 12

saiuedwo7

aUeINSU| PUNY s,UeWa4 pue Auedwioy aduesnsu|
dil4 UOlUA |euoTeN ‘Auedwo> adueinsu] auiysdwepy
MAN ‘Auedwioy asuesnsu| ajyeys aWUeI “ouy ‘sule|D
sey? “su ‘sey ‘Auedwo> Ayense jequeunuo)
‘Auedwo> aduednsu] Uedawy yon jsulese

SLUIE|D [Je SAAIISSI 7] ‘sJONpoOsd Fulpying ayesajouMy

O71 ‘s}anpoid Bulpying ajesajoum

PILWAWY YON Yyoun7 pue Auedwos adueinsu]
uewewy Yyoinz ‘Auedwo> aaueinsu] jseypeays
JSUIETE SLUIE]D |[2 BAIBSII JTT ‘SAWOY Aapaany plaed
pue “q*] ‘SaWoH Aajyaam e/4/} DTT ‘SAWOH Aapjaay

DTI ‘sawuoH]
Aapja3aAy plAaeq pue *q"7 “SawoH
Aapaann &//) 011 ‘SauoH Aapaeaay

Auedwo> Ayense penynyy saAojdwy jsurese
Sule|9 Fj2 SaAiasas AUedLOD BOUBINSU] SISUMO-O1NY

Aaping ueug
"f pue “ou; ‘BuljooD 2g Bueay Aan

Auedwop
JIUBINSU YON YUIesE sued [je SaAlasau AUedWIOD
SIUBINSU] 3}e}5 BWURID pue AUedWwo> s9UeINSU] YTV

“Su ‘UOHOY ANUNLULUOZ [270]

py] aoueunsu] Ayepads sdueunpuy

‘youeg UsiJ| -payiul] Auedwo> adueinsu] 1x ‘Auedwo?
asuesnsu| uedawy YyduNnz ‘AuedwoD aduedNnsUy

aJlq puojeH ‘Auedwio7 aduesnsuy jseypeays isuiede
SUE] [Je SPAIISAI CIySJaULed PSLU!] O1a}sqJ |[OL

ciyssaUWed Paw] 013459 [OL

Aueduio7 Ayuwapuy eyueNnD ysulese
SWUIB)9 Je SeAlasal AueBdWwo? asuesNsul SIBUMQ-OINY

“Duy ‘SUapying suypaquity

Auedwo3

J0UBINSU| SAUIUIA pue dnosg aoueinsu| suapying ‘Auedwo7y
aouBINsuy eJUeND ‘Auedwoy aduesnsu| Ayeads UeIAWIY
YLON ysulede suuieyo je SaAJasas “OU “UOHI9]/09 Suljiais ay

‘Qu ‘UOIDa]}OD Bulypsays au

Case 2:09-md-02047-EEF-MBN Document 15695-5 Filed 08/13/12 Page 12 of 12

Auedwio? adueinsuy ysnip FeUOTTeN pue

‘ueoMaWy yew pue) ‘Auedluo? asdueInsu] AInaualAy
ysul4 ‘Auedwic> asueinsuy Aypeigads yssig Jsujese siuieyo
jJe sevsasad Auedwio7 aaueunsu] jenny spimMuUcITeN

“SU UMOIgG-SLUBIIIIAA

